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David Corrigan

From: Robert H. Smallenberg [rsmallenberg@metrolawva.com]
Sent: Wednesday, May 11, 2011 1:31 PM

To: David Corrigan

Subject: Sakia Hall as next Friend v. Ford

David,

My office has confirmed with Sakia Hall that May 2@ commencing at noon is good.

Rob

Sent from my iPad

EXHIBIT

b

